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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ENERGY INTELLIGENCE GROUP, INC.
 and ENERGY INTELLIGENCE GROUP
 (UK) LIMITED,

        Plaintiffs,                                Civil Action No. 1:18-cv-06721 (JBG)

                v.

 BMO NESBITT SECURITIES LTD. and
 BMO HARRIS BANK, N.A.,

        Defendants.


                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2 to enable District

Judges and Magistrate Judges of the Court to evaluate possible disqualification or recusal, the

undersigned counsel for Energy Intelligence Group, Inc. and Energy Intelligence Group (UK)

Limited certifies that both Plaintiffs have one parent company, Koeing Limited, which is

privately held, and no publicly held corporation owns ten percent (10%) or more of the stock in

the parent company.

                                             Respectfully submitted,


Dated: October 30, 2018                      By:     /s/ Kevin C. Parks
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